
35 N.Y.2d 931 (1974)
The People of the State of New York, Respondent,
v.
Jack Sherman, Appellant.
Court of Appeals of the State of New York.
Argued December 17, 1974.
Decided December 20, 1974.
Robert H. Claridge and William E. Hellerstein for appellant.
Nicholas Ferraro, District Attorney (Alan M. Snyder of counsel), for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, RABIN and STEVENS.
Order reversed, and the case remitted to Supreme Court, Queens County, for a hearing, preferably before another Justice, on the dissenting opinion by Mr. Justice J. IRWIN SHAPIRO at the Appellate Division. Moreover, it is observed that under CPL 420.10 (subd. 4) an application for resentence may be made at any time.
